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Exhibit 16

Excerpts from the Transcript

of SPARTA's Rule 30(b)(6)
Deposition, dated November 15-16, 2023
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

HEKEKKKEKKKEKKKKKKKKKKKKKKKKKKKKK KKK

SPARTA INSURANCE COMPANY,
Plaintiff
vs. CA NO. 21-11205-FDS
PENNSYLVANIA GENERAL INSURANCE
COMPANY,

Defendant

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VIDEOTAPED DEPOSITION OF:

30(b) (6) SPARTA - RONALD P. HARRELL
SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP
500 Boylston Street
Boston, Massachusetts

November 15, 2023 9:46 a.m.

Darlene M. Coppola
Registered Merit Reporter

Certified Realtime Reporter

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A. I don't think so.
MS. SCORDATO: Beginning at
page 12.
BY MR. KAPLAN:
Q. Beginning at page 12, yes, or rather,

Bates number PGIC 4097.

(Exhibit No. 4 marked for

identification.)

BY MR. KAPLAN:

Q. And your counsel has probably already
told you this, Mr. Harrell, but you should
feel free at any point in the deposition, if
you need to refer to a document to refresh
your recollection, just to tell us. And it
can be a document that's already been marked,
or if there's some other document that you
need to refresh your recollection, that's fine
too. We would just mark it for the record.

A. Okay.

Q. Do you recognize this document,

Mr. Harrell?

A. I --

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Q. Go ahead.
A. Yes, I do.
Q. You recognize it to be a stock

purchase agreement entered into as of
March 12, 2007 by and between Pennsylvania
General Insurance Company, OneBeacon Insurance

Company, and SPARTA Insurance Holdings, Inc.?

A. Yes, I recognize that as the parties
to the -- to this agreement.
Q. Great. And I'm looking right now at

page 4169, the signature page. It was
executed on behalf of Pennsylvania General
Insurance Company by T. Michael Miller, chief
executive officer?

A. Yes.

Q. And executed on behalf of OneBeacon
Insurance Company by T. Michael Miller, also
chief executive officer?

A. Yes.

Q. And it was executed by SPARTA
Insurance Holdings, Inc., on behalf of
George L. Estes, III. I see CEO there -- oh,
I think it says chair and CEO; is that

correct?

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A. Yes.
Q. Have you ever spoken with Mr. Estes?
A. I have not.
Q. And just so my question is clear -- I
think it was -- but you've never spoken to him

for any purpose?
A. No, I do not know Mr. Estes.

Q. And you never communicated with him in

writing or anything like that?

A. No.

Q. And just to close the loop, you've
never had any communications from Mr. Estes
relayed to you in connection with anything, at
least to your knowledge?

MR. CLARK: Object to form.
What do you mean "relayed"?
BY MR. KAPLAN:

Q. Meaning no one's ever told you
Mr. Estes said something about something.

A. No, I don't believe that I've seen
anything like that.

Q. All right. The first subtopic for
this -- just, by the way, to give you a road

map, Mr. Harrell, at least for a lot of the

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deposition, the topics in the notice will be
providing and organizing principle, but if we
spend a lot of time today on the first few
topics, you know, you needn't despair that,
oh, we've got 57 more things that are exactly
going to be this length.

We will -- there will be doing some
jumping around probably, but we'll also --
some topics will move quite quickly, or they
overlap.

So, first, the decision to enter into
the stock purchase agreement, I'll just ask
you why did SPARTA Insurance Holdings purchase
AEIC?

A. SPARTA Insurance Holdings was

established to start up an insurance
operation, selling insurance through program
brokerages. And the most efficient way to
start up an insurance company is to locate and
purchase a clean shell, a shell of an
insurance company that already possesses the
licenses; hence, at the time, the OneBeacon
group was clearing out a number of companies,

and they approached them.

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that they acquired -- "they," being Sparta
Insurance Holdings, acquired American
Employers Insurance Company in 2007. They --
American Employers Insurance Company was a
Massachusetts-domiciled insurance company.

Sparta Insurance Holdings then
requested permission of the State of
Massachusetts and the State of Connecticut to
redomesticate it to the state of Connecticut,
which was approved. And so American Employers
Insurance Company became a Connecticut
domestic insurance company.

At some point in that process -- and I
believe it was immediately after domesticating
it into Connecticut -- they also asked for
approval of all the states in which they were
licensed, which I believe there were 52
licenses that came with American Employers, to
rename the company SPARTA Insurance Company.

That was approved, although it did
take an appeal with the State of California
because the State of California thought there
was another entity that might have a name too

close. But SPARTA appealed that and got

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permission to change the name to SPARTA
Insurance Company.

In 2014, when SPARTA Holdings and
SPARTA Insurance Company were acquired by
Catalina Holdings, Catalina wanted the
insurance entities and the holding company
merged together. So they merged. There was
another company -- I believe it was SPARTA
Specialty Insurance Company at the time -- but
they -- they basically merged them all
together into SPARTA Insurance Company.

At some point they established -- and
I'm not sure when, but at some point they
established Catalina U.S. Insurance Services
as a wholly owned subsidiary of SPARTA
Insurance Company. And at least up to the
point of the liquidation of Bedivere, that's
the essential structure that existed for
SPARTA. It owned Catalina U.S. Insurance
Services and was, in turn, owned by a series
of companies effectively by Catalina Holdings
Bermuda.

Q. Okay. Thank you for that.

Very helpful.

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You say that Catalina wanted SPARTA
Insurance Company and SPARTA Insurance

Holdings merged together? Did I get that

right?
A. Yes.
Q. Do you know why they wanted them

merged together?

A. I don't know the specific reason.
Q. Do you know a general reason?
A. Catalina already had a holding

company. They didn't need another holding

company in the tower.

Q. In the what?
A. In the tower of companies.
Q. Got it.

Any other reason that you know?

A. No.

Q. You said at some point they
established Catalina Insurance Services. Am I
correct that took place after -- am I correct
that establishing Catalina Insurance Services
took place after SPARTA Insurance Company and
SPARTA Insurance Holdings were merged

together?

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A. I'm not specific on the time as to
when they did that. But at some point after
the Catalina acquisition, that was formed.

Q. Now, you said at one point that
SPARTA -- correct me if I'm wrong -- SPARTA
Insurance Company has no employees?

MR. CLARK: Object to form.

A. That's correct right now.

BY MR. KAPLAN:

Q. And how long has that been true?

A. Upon the formation of Catalina
U.S. Insurance Services, all employees were
transferred to that entity.

Q. And how does SPARTA Insurance Company
operate with no employees?

A. SPARTA Insurance Company is a party to
an agreement with Catalina -- with Catalina
U.S. Insurance Services -- "CUSIS," we call
them -- and through those agreements, they
have administrative services agreements,

various claim-handling agreements, et cetera.

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policyholders of AEIC in the first instance.
However, due to the transfer and assumption
with PGIC, we are currently looking to PIC to
take on administrative and economic
responsibility for the AEIC claims. Having
said that, we reserve our rights to send these
to your firm as it is the insurance company
whose policies cover the claim. Moreover,
claimants, policyholders, and even regulators
may reach out to you concerning your
responsibility for these claims. However, in
the event SPARTA finds itself bearing the
administrative and economic responsibility for
any of all of these claims, SPARTA would have

a reinsurance claim against PIC pursuant to

the transfer and assumption agreement, and
PIC, in turn, would have a reinsurance claim
against Bedivere. For your benefit, I have
attached a list of open AEIC claims as of
4/14/2021."

SPARTA obviously agrees -- correct me
if I'm wrong -- with the sentence "SPARTA
would have a reinsurance claim against PIC

pursuant to the transfer and assumption

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agreement."
MR. CLARK: Object to form.

I'm just going to say you can testify
as to the facts.

Whether the legal theories are
identical or not, I'm assuming you're not
asking him for the legal interpretation.

MR. KAPLAN: No. This is a
setup for the next question.

MR. CLARK: Beware of the
setup.

MR. KAPLAN: It's just for
context.
BY MR. KAPLAN:

Q. My question is is this the first time
that anyone suggested that SPARTA would have a
reinsurance claim against PIC?

MR. CLARK: Object to form.

A. I believe this is the first time that
we were aware of the 2012 transfer and
assumption agreement and also the first time
that those of us who had been -- well, it
would be Mr. Eisenmann's first look at the

2005 transfer and assumption agreement which

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would form the basis for that claim against
PGIC or PIC, its successor company, yes.
BY MR. KAPLAN:

Q. So I think you answered the question,
but let me just make sure. Is it accurate to
say that people who were involved in
investigating how to deal with the AEIC
claims, it's the first time that anyone
suggested that SPARTA might have a reinsurance
claim against PIC for the AEIC claims?

MR. CLARK: Object to form.

A. Yes.

BY MR. KAPLAN:

Q. I'm going to skip Exhibit -- or
rather, Topic 29 for now, Mr. Harrell, and
move to "Any and all analyses of estimated
future liabilities, whether produced in
discovery or not, from AEIC claims that SPARTA
undertook after it learned of the Bedivere
liquidation and the bases for any estimates
therein, including all individuals involved in
producing them and all documents and
information relied on in generating them."

Let me start here, Mr. Harrell, by

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CERTIFICATION

I, DARLENE M. COPPOLA, a Notary Public, do hereby
certify that RONALD P. HARRELL, after having
satisfactorily identifying himself, came before me on
the 15th day of November, 2023, in Boston,
Massachusetts, and was by me duly sworn to testify to
the truth and nothing but the truth as to his
knowledge touching and concerning the matters in
controversy in this cause; that he was thereupon
examined upon his oath and said examination reduced to
writing by me; and that the statement is a true record
of the testimony given by the witness, to the best of
my knowledge and ability.

I further certify that I am not a relative or
employee of counsel/attorney for any of the parties,
nor a relative or employee of such parties, nor am I
financially interested in the outcome of the action.

WITNESS MY HAND THIS 28th day of November, 2023.

Dortent Coppa,

DARLENE M. COPPOLA My commission expires:
NOTARY PUBLIC November 2, 2029
REGISTERED MERIT REPORTER

CERTIFIED REALTIME REPORTER

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SPARTA INSURANCE COMPANY,

vs.

PENNSYLVANIA GENERAL INSURANCE
COMPANY,

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Plaintiff

CA NO. 21-11205-FDS

Defendant

VIDEOTAPED DEPOSITION OF:

30(b) (6) SPARTA - RONALD P. HARRELL

SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

500 Boylston Street

Boston, Massachusetts

November 16, 2023 9:28 a.m.

Volume II

Darlene M. Coppola
Registered Merit Reporter
Certified Realtime Reporter

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BY MR. KAPLAN:
Q. Paragraph 3 says -- well, let me
just -- so the record's clear, Interrogatory

No. 25 says, "For each denial you have made in
response to Defendant's requests for
admission, describe the basis for such

denial."

On the one we're talking about, SPARTA
says, "With respect to Request for Admission
No. 16, SPARTA states the following: Between
2007 and 2012, SPARTA tendered claims relating
to American Employers Insurance Company

policies to OneBeacon, PGIC's parent company

and the guarantor of PGIC's obligations under
the SPA, or other third parties as directed by
OneBeacon or its agents."

My question is does SPARTA continue to
believe that PGIC's parent company and the
guarantor of PGIC's obligations under the SPA
were the same entity?

MR. CLARK: Object to form.
A. They are not the same entity, no.

BY MR. KAPLAN:

Q. And how -- and just so the record's

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clear, how are they different?

A. OneBeacon Insurance Company is an
entity. Pennsylvania General Insurance
Company is another entity that I believe was
owned by OneBeacon Insurance Company.
However, OneBeacon Insurance Company was
administering all of the claims for all of the
companies.

Q. So is it fair to say that SPARTA
tendered claims to OneBeacon Insurance Group
or OneBeacon Insurance Company during that
period?

MR. CLARK: Object to form.

A. SPARTA tendered the claims in
accordance with the stock purchase agreement.
The direction in that, as requested by
OneBeacon, was that all notices go to
OneBeacon Insurance Company under the
agreement. And as they subsequently directed
other places to send those claim notices,
SPARTA did that.

BY MR. KAPLAN:
Q. And just so we're precise here, you

say, "The direction in that, as requested by

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OneBeacon, was that all notices go to
OneBeacon Insurance Company."

Who is the OneBeacon that you're
referring to when you say "requested by
OneBeacon"?

A. The parties to the stock purchase
agreement were Pennsylvania General Insurance
Company, OneBeacon Insurance Company, and
SPARTA Insurance Holdings. And in the stock
purchase agreement, both the seller and the
guarantor requested that documents be sent to
the same address with a different attention
line.

Q. Sometimes you -- am I correct that
from 2008 forward, in tendering claims to --
pursuant to the stock purchase agreement, they
were often sent by e-mail?

A. Yes.

Q. They weren't always sent to the

address in the stock purchase agreement,

correct?
A. That's correct.
Q. And when they were sent by e-mail,

they were sent to a OneBeacon e-mail

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Q. At any point in time, did SPARTA treat

PGIC as a reinsurer with respect to the AEIC

liabilities?
MR. KAPLAN: Objection to form.
A No
MR. KAPLAN: Go ahead. You can
answer.
A. No.

BY MR. CLARK:

Q. At any point in time, did SPARTA treat
any of the OneBeacon Group companies as
reinsurers with respect to the AEIC
liabilities?

MR. KAPLAN: Objection to form.
Go ahead.
A. No.
BY MR. CLARK:

Q. Okay. Let's turn back to the 2007
stock purchase agreement that was marked as
Exhibit 4.

A. Okay.

Q. On the first page of the stock
purchase agreement, the page that bears the

Bates-label PGIC 4097, do you see the top

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paragraph just below the heading "Stock
Purchase Agreement"?

A. Yes.

Q. In the 2007 SPA, what is the defined

term assigned to PGIC?

A. Seller.

Q. And what is the defined term assigned
to SPARTA?

A. Purchaser.

Q. What is the defined term assigned to

OneBeacon Insurance Company?
A. Guarantor.
Q. At any point in time, have there ever
been any oral modifications to the 2007 SPA?
MR. KAPLAN: Object to form.
And calls for a legal conclusion.
But go ahead and answer.
A. At any point in time?
BY MR. CLARK:
Q. Let me ask the question again.
At any point in time, have there ever
been any oral discussions modifying the 2007
SPA?

MR. KAPLAN: Objection to form.

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Calls for a legal conclusion.
Go ahead and answer.
A. No.
BY MR. CLARK:
Q. Does SPARTA have any reason to believe

today that the 2007 SPA is no longer in

force?
MR. KAPLAN: Same objections.
Go ahead.
A. No.
BY MR. CLARK:
Q. In 2007, what was the purchase price

paid for AEIC pursuant to the 2007 SPA?

A. $12 million plus the assets that were
remaining in AEIC at the time.

Q. Would SPARTA have paid millions of
dollars to receive a company with hundreds of
millions of dollars in liabilities?

MR. KAPLAN: Objection to the
form.
But go ahead and answer.
A. No.
BY MR. CLARK:

Q. Did SPARTA ever enter into any written

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agreement with PGIC to amend the 2007 SPA
after 2010?

A. No.

Q. Did SPARTA enter into any written
agreement with any OneBeacon company to amend
the 2007 SPA after 2010?

A. No.

Q. Did SPARTA enter into any written
agreement with anyone at any time to amend the
2007 SPA after 2010?

A. No.

Q. Did SPARTA provide PGIC with written
consent to assign the 2007 SPA to any other
party?

A. No.

MR. KAPLAN: I'm going to just
object to the form.
But go ahead.
A. No.
BY MR. CLARK:

Q. Did SPARTA provide anyone at any time
with written consent to assign the 2007 SPA to
any other party?

MR. KAPLAN: Same objection.

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And it calls for a legal conclusion.
But go ahead.
A. No.
BY MR. CLARK:
Q. I want to turn your attention, sir, to

the 2012 stock purchase agreement by and
between North American Casualty Company and
OneBeacon Insurance Group, which has been

marked as Exhibit 16.

(Stenographer clarification.)

BY MR. CLARK:

Q. If you turn to the first page of the
contract, which is marked PGIC 16035, do you
see at the top there's a heading titled "Stock
Purchase Agreement"?

A. Yes.

Q. Can you please identify the parties
identified in the first paragraph of the 2012
stock purchase agreement marked as Exhibit 16?

A. OneBeacon Insurance Group LLC is the
seller. North American Casualty Company is

the buyer. There are no other parties.

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Q. Is SPARTA a party to the 2012 SPA
marked as Exhibit 16?

A. No.

Q. Is AEIC a party to the 2012 SPA marked
as Exhibit 16?

A. No.

Q. I'd like to turn your attention, sir,

to Exhibit No. 13, which is a 2012 instrument
of transfer and assumption by and between
OneBeacon Insurance Company and PGIC bearing
the Bates-label PGIC 5137.

Do you have that document in front of
you, sir?

A. Yes.

Q. Okay. Do you see on the first page of
the 2012 transfer and assumption agreement
there is a paragraph at the top that
identifies the parties?

A. Yes.

Q. Who are the parties to the 2012
transfer and assumption agreement marked as
Exhibit 13?

A. OneBeacon Insurance Company and

Pennsylvania General Insurance Company.

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Q. Is SPARTA a party to the 2012 transfer
and assumption agreement marked as Exhibit 13?
A. No.
Q. Is AEIC a party to the 2012 transfer
and assumption agreement marked as Exhibit 13?
A. No.
Q. Did SPARTA sign any documents in
connection with the 2012 sale of PGIC?
A. No.
Q. Did SPARTA consent in writing to the
2012 SPA marked as Exhibit 13 at any time?
A. The transfer and assumption marked as
Exhibit 13?
Q. Thank you. I misspoke. Withdraw the
question.
Did SPARTA consent in writing to the
2012 SPA marked as Exhibit 16 at any time?
MR. KAPLAN: Objection to the
form. And calls for a legal conclusion.
Go ahead and answer.
A. No.
BY MR. CLARK:
Q. Did SPARTA sign any writing consenting

to the 2012 SPA marked as Exhibit 16?

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MR. KAPLAN: Same objection.

Go ahead.
A. No.
BY MR. CLARK:
Q. Did SPARTA verbally consent to the

2012 SPA marked as Exhibit 16 at any time?

A. No.

Q. Did SPARTA consent in writing to the
2012 transfer and assumption agreement marked
as Exhibit 13 at any time?

MR. KAPLAN: Same objection as

before.
Go ahead.
A. No.
BY MR. CLARK:
Q. Did SPARTA consent verbally to the

2012 transfer and assumption agreement marked
as Exhibit 13 at any point in time?
A. No.
Q. In 2012, did SPARTA sign any documents
that purported to amend the 2007 SPA?
MR. KAPLAN: Objection to form.
Calls for a legal conclusion.

Go ahead.

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A. No.
BY MR. CLARK:

Q. After 2012, did SPARTA sign any
documents that purported to amend the 2007
SPA?

MR. KAPLAN: Same objection.
Go ahead.
A. No.
BY MR. CLARK:

Q. Did PGIC notify SPARTA of the 2012 SPA
marked as Exhibit 16 before the 2012 SPA was
executed?

MR. KAPLAN: Objection.
Foundation. And objection to the form.

MR. CLARK: What's wrong with
the form?

MR. KAPLAN: "Notify."
BY MR. CLARK:

Q. Did SPARTA receive any communication
from PGIC about the 2012 SPA marked as
Exhibit 16 before Exhibit 16 was executed?

MR. KAPLAN: Just -- this time,
just foundation.

A. No.

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BY MR. CLARK:
Q. Did SPARTA receive any communication

from NAC about the 2012 SPA marked as

Exhibit 16 before Exhibit 16 was executed?

A. No.

Q. Did SPARTA receive any communication
from anyone about the 2012 SPA marked as
Exhibit 16 before Exhibit 16 was executed?

MR. KAPLAN: The same foundation
objection.

A. No.

BY MR. CLARK:

Q. Did SPARTA receive any communication
from PGIC about the 2012 transfer and
assumption agreement marked as Exhibit 13
before Exhibit 13 was executed?

MR. KAPLAN: Same objection on
foundation.

A. No.

BY MR. CLARK:

Q. Did SPARTA receive any communication
from any OneBeacon company about the 2012
transfer and assumption agreement marked as

Exhibit 13 before Exhibit 13 was executed?

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MR. KAPLAN: Same objection on
foundation.
A. No.
BY MR. CLARK:

Q. Prior to the Bedivere liquidation, did

PGIC provide SPARTA with a copy of the 2012

SPA?
A. No.
MR. KAPLAN: Same objection on
foundation.
A. No.

BY MR. CLARK:

Q. Prior to the Bedivere liquidation, did
PGIC provide SPARTA with a copy of the 2012
transfer and assumption agreement?

MR. KAPLAN: Same objection.

A. No.

BY MR. CLARK:

Q. Prior to the Bedivere liquidation, did
NAC provide SPARTA with a copy of the 2012
SPA?

MR. KAPLAN: Same objection.

BY MR. CLARK:

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Q. Prior to the Bedivere liquidation, did
NAC provide SPARTA with a copy of the 2012
transfer and assumption agreement?

MR. KAPLAN: Same objection.

A. No.

BY MR. CLARK:

Q. Prior to the Bedivere liquidation, did
any OneBeacon company provide SPARTA with a
copy of the 2012 SPA?

MR. KAPLAN: Same objection.

A. No.

BY MR. CLARK:

Q. Prior to the Bedivere liquidation, did
any OneBeacon company provide SPARTA with a
copy of the 2012 transfer and assumption
agreement?

MR. KAPLAN: Same objection.

A. No.

BY MR. CLARK:

Q. Did SPARTA receive a copy of the 2012
transfer and assumption agreement marked as
Exhibit 13 from anyone prior to Exhibit 13
being executed?

MR. KAPLAN: Same objection.

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A. No.
BY MR. CLARK:
Q. Did SPARTA receive any communication

from anyone about the 2012 transfer and
assumption agreement marked as Exhibit 13
before it was executed?

MR. KAPLAN: Same objection.

MR. CLARK: I'm marking as
Exhibit 158 a document bearing the Bates-label

SPARTA-91855.

(Exhibit No. 158 marked for

identification. )

MR. CLARK: It's an agreement
and plan of merger entered into as of
October 9, 2015 by and between SPARTA
Insurance Company and SPARTA Insurance
Holdings Inc.

BY MR. CLARK:

Q. Do you have that document, sir?
A. I do.
Q. In October 2015, did SPARTA Insurance

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Holdings Inc. merge into SPARTA Insurance

Company?
A. Yes.
Q. Please turn to the second page of

Exhibit 158. In the middle of the page,
there's a section titled "Article 2, Surviving
Corporation."

Do you see that?

A. I do, yes.

Q. Pursuant to the October 2015 merger
agreement marked as Exhibit 158, was SPARTA
Insurance Company the surviving corporation?

MR. KAPLAN: Objection to the
form. Calls for a legal conclusion.
But go ahead and answer.

A. Yes, SPARTA Insurance Company was the

surviving organization.

BY MR. CLARK:

Q. Exhibit 158 includes a section titled
"Article 2," correct?

A. Yes.

Q. Could you read for the record the

words that come directly after "Article 2."

A. "Surviving corporation."

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Q. After those words, there's one
sentence.
Do you see that, sir?
A. I do.
Q. Could you please read that one

sentence in Exhibit 158 into the record,
please.

A. "SIC's," which is previously defined
as SPARTA Insurance Company, "articles of
incorporation, bylaws, officers, and directors

as of the effective time shall remain

unaffected and unchanged by the merger."

(Exhibit No. 159 marked for

identification.)

BY MR. CLARK:
Q. I'm handing you a document I've marked

as Exhibit 159. It's a document bearing the

Bates-label SPARTA-59862. It's an e-mail
exchange from 2009.

Please take a moment to review that
document.

A. (Witness reviews document.)

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CERTIFICATION

I, DARLENE M. COPPOLA, a Notary Public, do hereby
certify that RONALD P. HARRELL, after having
satisfactorily identifying himself, came before me on
the 16th day of November, 2023, in Boston,
Massachusetts, and was by me duly sworn to testify to
the truth and nothing but the truth as to his
knowledge touching and concerning the matters in
controversy in this cause; that he was thereupon
examined upon his oath and said examination reduced to
writing by me; and that the statement is a true record
of the testimony given by the witness, to the best of
my knowledge and ability.

I further certify that I am not a relative or
employee of counsel/attorney for any of the parties,
nor a relative or employee of such parties, nor am I
financially interested in the outcome of the action.

WITNESS MY HAND THIS 28th day of November, 2023.

Darter.  .Copato,

DARLENE M. COPPOLA My commission expires:
NOTARY PUBLIC November 2, 2029
REGISTERED MERIT REPORTER

CERTIFIED REALTIME REPORTER

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